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                 EXHIBIT 9
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    Larry Greenfield                                        Score Frequency • Onsito In erviews
    (leg) - Director                90-

    443 total interviews

                                                                                                                 9
                                    72·
    [ 427 onsite
                                                                                                                                                                    •   0 or Extondod
    interviews                                                                                                                                                      •   0 'or (01 o n Apphcaton)
                                    54
    Feb 11, 2016 6:15                                                                                                                                               •   No O or Extended
    AM (PST) - onsite               3S-                                                                                                                             •   0 er (> 1 Year Ago}
    Feb 18, 2016 9:30                                                                                                                                                   No O er(> 1 Year Ago)

    AM (PST)-
    feedback received
                                     0 - 1 ' I ' I          I         I                I     '    '    I   Tar-         I   T      '           .,..            I
                                        1.0 1.2 1.4   1.6       1.8       2.0   2.2   2 .4       2.6       2.8   3 .0       3 .2       3 .<f      3.6   3.8   4.0




                    I liked talking to Ulku and I believe I could work with her effectively. I'm nervous that she hasn't been
                    pushed lately to have the technical depth we might need from an eng director in storage though I'm
                    optimistic that she's not hopeless on that front.


    Interview questions asked

    1. what's fun?
    2. tell me about a technical problem
    3. what was the biggest technical challenge?
    4 . what sort of operations load do you think is appropriate for developers
    5. how does deployment work? does that work well?
    6. what is your org doing badly?
    7. how do you motivate people working on the non-flashy stuff?



                                          Rated for: L8+ Hires, Level 8-9, for people manager



    On general cognitive ability

     ... Understands the Problem                                                                                                                                                    SOLID


        Solid: Understands strategic implications, building plans around multiple big-picture factors .


     ... Prepares                                                                                                                                                                   SOLID


        Solid : Strategically gathers additional useful info , above and beyond what's required .


     ... Supports Solutions                                                                                                                                                OUTSTANDING


        Outstanding: Makes choices that track with other company initiatives and broader factors (e.g., industry
       trajectory). Plans for ongoing iterations as needed .


     ... Communicates Clearlv                                                                                                                                              OI ITSTANnlNc:;




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    * OVERALL CONCLUSIONS (Note: If the candidate is not a fit for this opening , which other group/opening would
    you recommend?) Hire .




    Rich Sanzi (sanzi) -                                     Score     requ ncy • All Interview Types
    Vice President
    1O total interviews I
    10 onsite interviews
                                                                                                                            •   0 o Ex ended
    Dec 9, 2015 2:30                                                                                                        •   0 or (Dif oron Appl at on)
    PM (PST) - onsite                                                                                                       •   No Offer Ex ndod
    Feb 11, 2016 5:44                                                                                                       •   0 o (>   Yoar Ago)
    PM (PST) -                                                                                                                  No Otter(> 1 Year Ago)

    feedback received

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                  Weak hire. I believe Ulku is a very experienced senior-level leader, capable of managing a large IT-
                  focused organization building applications . However the candidate's background is in very different
                  technology area than the technology underlying the NY Storage team . I am concerned that there will
                  be a significant challenge in coming in as a leader for this organization at the top . There will be a
    steep learning curve in technology, people , culture , interactions with other sites , and in understanding the Google
    way.


    Interview questions asked

    As a warmup question , I asked the candidate to describe what they saw as the industry trends driving companies
    to the cloud. She discussed issues with JPM's organization running massive data centers that are not key
    technology to their corporate value add . She also said that security concerns had long been the dominant
    objection to moving assets into the cloud, but that the company has come to realize that their data is no longer safe
    just because it's on their premise. "We used to think we were safe" but have come to realize that their own internal
    systems are not safe and that they are beginning to believe that they will be safer in the cloud .


    I asked her to describe the architecture of her credit risk system. She gave me a very high level overview of the
    architecture and the work flow. I was asking probing questions during her discussion to try to evaluate the depth of
    her understanding of the system and while she could describe the high-level information flows, I struggled getting
    her to dive into the details much beyond the existence of an ExaData database , a set of nodes running a monte-
    carlo simulation of risk and a Gem Fire cache used to compute intra-day results . I asked specifically about the
    caching layer and she couldn't give me any of the technical details of what the cache is, what is .


    I next asked her about her experience leading a team working on an initiative involving multiple organizations . She
    described he time leading a "Data Quality" initiative for their data. Since this was a very broad and undefined
    initiative, she had to start by defining what "Data Quality" means, what problems they were solving. She then got a
    set of experts together to brainstorm where to start on the initiative , to define the problem , and to understand the
    data flow. But I struggled to get into specific examples of the "Data Quality" problem is in order to ground the
    discussion.




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                                                                                                   •   No Otte< Extondcd
                                                                                                   •   0 o (>   Yoar Ago)
                                                                                                       No Offer(> 1 Y ar Ago}




                   Weak-to-moderate no hire . An experienced manager, but her ideas are clearly steeped in large
                   corporate culture; possibly unlearnable. Also: although I focused on management, I generally expect
                   to get a moderately strong signal on technical topics from my leadership questions; I didn't, which is a
                   concern .


    Interview questions asked

    Q1 . Describe your current role and your success metrics .
    Q2. How do you have an impact managing a team of stars?
    Q3 . What's your philosophy of individual growth/promotion?
    Q4 . How do you manage the tension between top-down mandates and bottom-up initiatives?
    Q5 . What's your approach to managing technical debt?


    Interview notes

    * Onsite: HIRE/NO HIRE
    * Phone screen move forward?: YES/NO


    [Please list the questions asked , the candidate's answers and your assessment of the candidate's answers.]


    Q1. Describe your current role and your success metrics .


    Ulku leads Credit Risk Technology at JP Morgan, managing -400 developers globally. The software they develop
    spans trade/position collection, modeling to measure risk, batch processing, and desktop applications to view and
    provide operational support. Clearly described, sounds like a broad and relevant portfolio.


    Ulku described success as "building great software" that "solves real business problems". She described how the
    credit risk landscape has changed since 2008, now one of the few technology areas that's continuing to grow,
    driven by continuous regulation changes/expansion. Fine , but lacking any concrete notion of measurement, which
    I would expect.


    I followed up to ask who her customer was - the Chief Risk Officer. I asked if they have a product management
    team - no , devs sit with users directly and figure out requirements. Anything but clear answers here would have
    been a concern , so fine , but I would have expected a bit of voluntary elaboration on the second question around
    dev process.




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    Did not assess .


    * Testing (creative test case development, debugging , passion for quality):


    Did not assess .


    * Communication


    Somewhat verbose .


    * Experience Relevant to Google (Role-related Knowledge and Technical Skills) :


    Has managed large teams across sites . Limited technical signal.


    * Google Culture Fit:


    Caution .


    * OVERALL CONCLUSIONS (Note: If the candidate is not a fit for this opening , which other group/opening would
    you recommend?)




    Carter Page                                                Score Frequency • O nsite In erview s
    (carterp) - Mgr,             5-

    Software
    Engineering Ill
                                                                                                                         •   0 e Extended
    57 total interviews I                                                                                                •   0 or (Di oron Appl at on)
    49 onsite interviews




                                 :.J"" """
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    Nov 23 , 2015 8:00                                                                                                   •   0 o (>   Year Ago)
    AM (PST) - onsite                                                                                                        No O er(> t Year Ago}




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    Nov 28 , 2015 2:10
    PM (PST)-
    feedback received                 1.0   1.2   1.4'   1.6    1.8   2.0   2.2   2.4   2.6   2.8      3.6   3.8   4.0




                 WEAK NO HIRE


                 I think she is a capable senior manager, but I have concerns about her cultural fit and technical
                 expertise . I could be persuaded otherwise .


    Interview questions asked

    1. How do you manage at scale?
    2. A senior engineer comes to you with a proposal to rebuild and existing system from scratch . How do you
    evaluate the proposal?
    3. How do you manage conflicts and disagreements between teams?




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    I 141 onsite                  20·

    interviews
                                   6·
    Nov 18, 201511 :00
                                                                                                                                                                                             •   0 er Extended
    AM (PST) - onsite              2-                                                                                                                                                        •   0' er (01 oron Apphcaton)


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    Nov 24 , 2015 8:29                                                                                                                                                                       •   No O or Ex ended
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                                         I .0       I .2       1.4     I .6       I .8       2.0   2.2       2.4       2.6   2.8       3.0   3 .2       3.4       3 .6       3.8       4.0




                   I would have liked to see more depth in developing systems, as that is what Core Storage does . That
                   said , she had a good background with replacing large applications and services , she also seemed to
                   have good experience working within an organization with customers and other stakeholders.


    If we are looking for a deep technical person setting direction here Urku is not the person. But if we are looking for
    someone who can coordinating with other teams , and keeping the organization in sync with the rest of Google ,
    Ulku seemed fine from my interview with her.


    Interview questions asked

    A) What motivates you to come into work? (i.e. what parts of your job do you like?)


    B) Tell me about a technical problem that escalated to your level, and what you did to deal with it?


    C1) Tell me about how you go about planning a migration from one system to another.
    C2) Tell me about how you handled an unexpected hurdle that arose , and how you dealt with it?


    D) You're director of Storage for Google , sales comes to you with a customer requirement to backup Gmail to tape .
    What do you do now?


    Interview notes

    * Onsite: HIRE/NO HIRE
    Questions :


    A) What motivates you to come into work? (i .e. what parts of your job do you like?)


    B) Tell me about a technical problem that escalated to your level , and what you did to deal with it?


    C1) Tell me about how you go about planning a migration from one system to another.
    C2) Tell me about how you handled an unexpected hurdle that arose , and how you dealt with it?


    D) You're director of Storage for Google, sales comes to you with a customer requirement to backup Gmail to tape .
    What do you do now?
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